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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DONNA GIFFORD,                                 )    CASE NO. 2:22-CV-4389
                                               )
       Plaintiff,                              )    JUDGE SARAH D. MORRISON
                                               )
v.                                             )    MAGISTRATE CHELSEY M. VASCURA
                                               )
NORTHWOOD HEALTHCARE GROUP,                    )
LLC, et al.,                                   )    NOTICE OF APPEARANCE
                                               )
       Defendants.                             )

       Shannon Henry and Morena L. Carter hereby enter their appearance as counsel for

Defendants Northwood Healthcare Group, LLC and Garden Healthcare Group, LLC in the

captioned matter. All notices given or required to be given in this case and papers filed shall be

served upon the undersigned.

                                                   Respectfully submitted,

                                                    /s/
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                                  CERTIFICATE OF SERVICE


       The foregoing was filed electronically on the 27th day of February, 2023, in accordance

with the Court’s Electronic Filing Guidelines. The Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.


                                                     s/
                                                     SHANNON HENRY (0097969)
                                                     One of the Attorneys for Defendants
